Case 8:10-cr-00545-JSM-TGW Document 136 Filed 09/13/12 Page 1 of 1 PageID 886




                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                         TAMPA DIVISION

UNITED STATES OF AMERICA

v.                                                   CASE NO: 8:10-CR-545-T-30TGW

APOLINAR DE LA CRUZ YESQUEN,

      Defendant.
____________________________________/

                                             ORDER

          THIS CAUSE comes before the Court upon Defendant's Motion to Recognize

Assistance Pursuant to Rule 5K1.1 (Dkt. #133) and the Government's Response (Dkt. #135)

thereto. Upon review and consideration, the Court determines that Defendant received credit

for his assistance at the time of sentencing. He received a sentence below the minimum

mandatory sentence of ten years. It is in the Government's discretion to seek a further

reduction upon additional assistance. It has not done so. And Defendant has not shown that

he performed any additional assistance.

          It is therefore ORDERED AND ADJUDGED that Defendant's Motion to Recognize

Assistance Pursuant to Rule 5K1.1 (Dkt. #133) is DENIED.

          DONE and ORDERED in Tampa, Florida on September 13, 2012.




Copies furnished to:
Counsel/Parties of Record
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